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                              The Supreme Court of Texas
                                                         AUSTIN
                                                   CLERK'S OFFICE




            I, BLAKE HAWTHORNE, Clerk of the Supreme Court of Texas, certify that the
    records of this office show that

                                                Michael Adam Merar

    was duly admitted and licensed as an attorney and counselor at law by the Supreme

    Court of Texas on the 1st day of May, 2017.

            I further certify that the records of this office show that, as of this date



                                                Michael Adam Merar



    is presently enrolled with the State Bar of Texas as an active member in good standing.


                                                    IN TESTIMONY WHEREOF witness my signature

                                                                   and the seal of the Supreme Court of

                                                                   Texas at the City of Austin, this, the

                                                                   25th day of May, 2022.

                                                                   BLAKE HAWTHORNE, Clerk



                                                                   Clerk, Supreme Court of Texas
    No. 6481C.1




This certification expires thirty days from this date, unless sooner revoked or rendered invalid by operation of rule or law.
